
PER CURIAM.
The amount which the relator was entitled to recover, according to the claim alleged in his declaration, was the amount due upon his execution at the return day thereof; and the jury should have found *that amount for him in damages, and no interest on such damages should have been allowed'by the verdict, or given by the judgment of the court. Therefore, the judgment must be reversed with costs. But the error may be corrected without a new trial, if the relator will release the excess he has recovered beyond what he was entitled to; and the court will give him an opportunity to make the proper correction. Therefore, the court will remand the cause to the circuit superior court for a new trial to be had therein, unless the relator shall release the damages found for him by the verdict, except as to the sum of 326 dollars 7 cents with interest on 312 dollars 21 cents part thereof from the 1st January 1816 till the 4th monday in August 1821, in which case judgment shall be entered for him accordingly with costs.
Judgment reversed, and cause remanded with the directions indicated in the .opinion.
